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Va.Code j8.01-301,-310,-329;55-218.1;57-51                                                                     FEB 28 2218




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SFRVICE OF PRO CESS IS EFFECTIV E ON THE DA TE THAT THE CERTIFICATE OF COM PLIANCE IS FILED W ITH THE
ABOVE-NA M ED COURT.
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  theundersigned,Clerk in theOfficeofthe Secretary oftheCom m onwealth,herebycertify thefollow ing:
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